          Case 3:10-cr-02242-JM                    Document 636                Filed 07/06/11              PageID.2612               Page 1 of 6
            /\
    ~AO 245B     (Rev. 9/00) Judgment in a Criminal Case
                 Sheet 1

                                             UNITED STATES DISTRICT COURT                                                        tl JUl -6 AM 8: 03
                                                                                                                                                                     ~ i'; t.,: t~ 'j
                                                 SOUTHERN DISTRICT OF CALIFORNIA                                                           'f
                                                                                                                                      ;... ~f 4.J, ~
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                   UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINA~ CASE J{~
                                       v.                                        (For Offenses Committed On or After l'>I~ember 1,                l{:;8'i;              f)[I'UT Y


                         KAREN GARCIA (13)                                       Case Number: lOCR2242 JM
                                                                                  Paul D Turner
                                                                                  Defendant's Attorney
   REGISTRATION NO. 20112298

   D
   THE DEFENDANT:
   \81 pleaded guilty to count(s) FORTY ONE OF THE INDICTMENT.

   D was found guilty on count(s)
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
   Title & Section                          Nature of Offense                                                                                Number(s)
18:1343                             WIRE FRAUD




             The defendant is sentenced as provided in pages 2 through _ _6_ _ of this judgment. The sentence is imposed pursuant
      to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
  \81 Count(s) _r_em__ai_n....in..,g_ _ _ _ _ _ _ _ _ _ __              is D arel8l dismissed on the motion of the United States.
  \81 Assessment: $ 100.00
  \81 Fine waived                                D Forfeiture pursuant to order filed                           included herein,
            IT IS ORDERED that the defendant shall notify the United States attorney for this distriet within 30 days of any change of name, residence,
      or mailing address until all fines, restitution, eosts, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
      defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                   July 1,2011
                                                                                  Date of 1mposition of Sentence




                                                                                                                                                         IOCR2242 JM
     Case 3:10-cr-02242-JM                          Document 636      Filed 07/06/11       PageID.2613           Page 2 of 6


AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2 Imprisonment
                                                                                             Judgment - Page _ _2 _ of         6
DEFENDANT: KAREN GARCIA (13)
CASE NUMBER: IOCR2242 JM
                                                             IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          TIME SERVED



   o      Sentence imposed pursuant to Title 8 USC Section J326(b).
   o      The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                      Oa.m.    Op.m.      on
               as notified by the United States Marshal.

    o     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           o
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                           UNITED STATES MARSHAL

                                                                      By
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                       IOCR2242 JM
       Case 3:10-cr-02242-JM                      Document 636            Filed 07/06/11           PageID.2614              Page 3 of 6


AD 245D      (Rev. 3/10) Judgment in a Criminal Case for Revocations
             Sheet 3 .~ Supervised Release
                                                                                                           Judgment-Page   --l.- of _---'6;...-_ _
DEFENDANT: KAREN GARCIA (13)                                                                       II
CASE NUMBER: lOCR2242 JM
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4       drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)

o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsew here and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.
                                                                                                                                   lOCR2242 JM
          Case 3:10-cr-02242-JM                        Document 636       Filed 07/06/11           PageID.2615             Page 4 of 6


        AD 2458    (Rev, 9/00) Judgment in a Criminal Case
                   Sheet 4 ~, Special Conditions
                                                                                                         Judgment~Page   ----L- of _-:;.6_ _
       DEFENDANT: KAREN GARCIA (13)                                                                 D
       CASE NUMBER: lOCR2242 JM




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition,

o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure,
o Not transport, harbor, or assist undocumented aliens,
o   Not associate with undocumented aliens or alien smugglers,
o   Not reenter the United States illegally,
o Not enter the Republic of Mexico without written permission of the Court or probation officer.
o Report all vehicles owned or operated, or in which you have an interest, to the probation officer,
o Not possess any narcotic drug or controlled substance without a lawful medical prescription,
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form,

181 Notify the Collections Unit of the US Attorney's Office, and the US Probation Office, of any interest in property obtained, directly or
    indirectly, including any interest obtained under any other name, or entity, including a trust, partnership or corporation, until any fine or
    restitution order is paid in fulL


o Remain in your place of residence for a period of                            , except while working at verifiable employment, attending religious

o   Participate in a mental health treatment program as directed by the probation office,
181 Provide complete disclosure of personal and business financial records to the probation officer as requested,
181 probation
    Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
              officer.
o   Seek and maintain full time employment andlor schooling or a combination of both,
o   Resolve all outstanding warrants within                  days.

o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o   Reside in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of
    commencing upon release from imprisonment

181 Notify the Collections Unit of the US Attorney's Office, and the US Probation Office, before the transferring any interest in property owned
    directly or indirectly by the defendant,
o Not engage in any form of telemarketing, as defined in 18 USC 2325, without the written permission of the probation officer.
o Comply with the conditions of the Home Confinement Program for a period of                          months and remain at your residence
    except for activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow
    procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the
    probation officer.

o    Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
     The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
     on the defendant's ability to pay,

                                                                                                                                       lOCR2242 JM
    Case 3:10-cr-02242-JM                   Document 636      Filed 07/06/11        PageID.2616            Page 5 of 6




   AO 245B     (Rev. 2010) Judgment in a Criminal Case
               Sheet 3 - Continued 2 - Supervised Release
                                                                                    Judgment-Page     .5     of __
                                                                                                                 6 __
   DEFENDANT:                                 KAREN GARCIA (13)                 D
   CASE NUMBER: lOCR2242 JM

                                     SPECIAL CONDITIONS OF SUPERVISION

    Be monitored for a period of 6        months, with the location monitoring technology at the discretion of the
    probation officer. The offender shall abide by all technology requirements and shall pay all or part of the costs of
    participation in the location monitoring program, as directed by the court and/or the probation officer. In addition to
    other court-imposed conditions of release, the offender's movement in the community shall be restricted as specified
    below:


    o        You are restricted to your residence every day from _______ to _ _ _ _ _ _. (Curfew)


    o        You are restricted to your residence every day from _______ to _______ as directed by the
             probation officer. (Curfew)

             You are restricted to your residence at all times except for employment; education; religious services;
             medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
             obligations; or other activities as pre-approved by the probation officer. (Home Detention)

     o       You are restricted to your residence at all times except for medication necessities and court appearances or
             other activities specifically approved by the court. (Home Incarceration)


D Beprobation
       monitored while under supervision with location monitoring technology at the discretion of the
              officer, which shall be utilized for the purposes of verifying compliance with any court-imposed
     condition of supervision. The offender shall pay all or part of the costs of location monitoring based upon
     their ability to pay as directed by the court and/or probation officer.


IX I Court orders cost of location monitoring program waived.
        Case 3:10-cr-02242-JM                     Document 636        Filed 07/06/11           PageID.2617              Page 6 of 6




AO 245S     Judgment in Criminal Case
            Sheet 5 Criminal Monetary Penalties
                                                                                                     Judgmenl- Page _ _6__ of         6
DEFENDANT: KAREN GARCIA (13)                                                                  II
CASE NUMBER: lOCR2242 JM
                                                          RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$_2_58_,_6_0_7_.7_1_ _ _ unto the United States of America.




          This sum shall be paid __ immediately.
                                  )( as follows:

           To:Aurora Loan Services
              Attn: Legal Dept
              #3002032351;#8800546544
              10350 Park Meadows Dr.
              Litton, CO 80124


           Through the Clerk, US District Court forthwith or at the rate of $200.00 per month until paid in full.




        The Court has determined that the defendant     does         have the ability to pay interest. It is ordered that:

    "        The interest requirement is waived.

             The interest is modified as follows:




                                                                                                    lOCR2242JM
